 

 

Case 5:04-CV-00825-GLS-DEP Document 5-2 Filed 08/20/04 Page 1 of 4

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

)
ASBESTOS WORKERS SYRACUSE PENSION FUND, )
by Thomas Davitt, lll, and Charlotte Buskey, as Trustees, ) AFFIDAVIT IN
) SUPPORT OF
Plaintiffs, ) DEFAULT REQUEST
-against- )
)
DELORES A. WELLS ) Civil Action No.
) 04-CV-0825 (GLS/DEP)
Defendant. )
)

 

STATE OF NEW YORK )
COUNTY OF ONONDAGA) ss.:

DANIEL R. BRICE, being duly sworn, deposes and says:

l. l am an associate with the law firm of Blitman & King LLP, attorneys for the Plaintiff in
the above-entitled action, and am fully familiar with all of the proceedings heretofore had herein. I
submit this affidavit in support of Plaintiff’ s request for entry of default against Defendant Delores Wells.

2. This action was commenced on July 16, 2004 by filing a Summons and Complaint with
the United States District Court for the Northem District of New York.

3. On July 30, 2004, the Summons and Complaint were served upon Defendant Delores

Wells by delivering one (l) copy of the same to Defendant personally, as indicated by the Affldavit of

Service by Joyce Abold [A copy of said Affldavit of Service is attached hereto as Exhibit “A”].

 

 

 

Case 5:04-CV-00825-GLS-DEP Document 5-2 Filed 08/20/04 Page 2 of 4

4. Pursuant to Rule 12(a) of the Federal Rules of Civil Procedure, Defendant was required to

answer the Summons and Complaint within twenty (20) days after service thereof, i.e. by August 19,

2004,

5. Defendant has not answered the Complaint or otherwise moved with respect thereto, and
the time for Defendant to answer has not been extended, and the time for the Defendant to answer the
Complaint has expired.

WHEREFORE, deponent requests that the Clerk of the Court enter default against Defendant
Delores Wells in accordance with Rule 55(a) of the Federal Rules of Civil Procedure,

s/Daniel R. Brice

Daniel R. Brice
Sworn to before me this

20th day of August, 2004,

s/Wendy L. Richardson
Notary Public, State of New York

Qualifled in Onon. Co. No. 46665248
My Commission Expires 08/21/06

(glv\dek\lit\wells\DRB Affidavit)

 

Case 5:04-CV-00825-GLS-DEP Document 5-2 Filed 08/20/04 Page 3 of 4

EXHIBIT A

Case 5:04-cV-00825-GLS-DEP Document 5-2 Filed 08/20/04 Page 4 of 4

AFFIDAVIT OF SERVICE Index No. 5:04-CV-825
C.N.Y PROCESS SERVICE, INC. RJI No.

Attorney: Blitman

UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF NEW YORK

 

ASBESTOS WORKERS SYRACUSE PENSION FUND,

PlaintiB' (s)
-against-
DELORES A. WELLS,

Defendant (s)

 

State of New York , County of Onondaga ss: The undersigned, being duly sworn deposes and states: deponent is
not a party herein, is over the age of 18 years and resides at__Liverpool, New York

That on_July 30, 2004 at 10:35 a.m. located at 207 Leavenworth Ave. Syracnse, NY 13204
deponent served the within_Summons and Complaint, General Order #25;Case Management Plan; Case

Assignment/Motion Schedules and Filing Location; Consent Form to Proceed before U.S. Magistrate Judge
on_DELORES A. WELLS_recipient therein named

JINDIVIDUAL By delivering a true copy of each to said recipient personally; deponent knew the person
served to be the person described as said person therein.

§VIILITARY SRVC Deponent asked the person spoken to whether the recipient was presently in the military
service of the United States Govemment of the State of New York and was informed
that recipient was not. Recipient wore ordinary civilian clothes and no military uniform

DESCRIPTION: Race_White Sex_female Height_§’§”_Weight_l%_Age_ 5-55 Hair_blond 0
features:_glassos

 

 

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